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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:21−cr−00698
                                                       Honorable Robert W. Gettleman
Ronald T. Molo
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 21, 2021:


       MINUTE entry before the Honorable Robert W. Gettleman as to Ronald T. Molo:
Telephonic status hearing held on 12/21/2021. Defendant appeared on the hearing
telephonically. Defendant notified the court that he is in the process of retaining new
counsel. Rule 16.1 (a) conference to be held by 1/7/2022. Telephonic hearing set for
2/4/2022 at 9:00 a.m. The call−in number is (888) 684−8852 and the access code is
1503395. By agreement, the Court deems the period of time from 12/21/2021 to 2/4/2022
excludable under 18 U.S.C. §3161(h)(7)(A) − interest of justice. Mailed notice (cn).




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